Case 8:03-cr-00077-CEH-UAM

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICTAGF 2RLORIDA2 2
TAMPA DIVISION

Case No. 8:03-CR379-T-30TBM
UNITED STATES OF AMERICA
-vVs- 27 July 2005

SAMI AMIN AL~ARIAN 9:15 a.m.
SAMEEH HAMMOUDEH

GHASSAN ZAYED BALLUT

HATIM NAJI FARI2Z

Defendants.

TRANSCRIPT OF PROCEEDINGS
(EXCERPT FROM JURY TRIAL - TESTIMONY OF KERRY MYERS) °
BEFORE THE HONORABLE JAMES S. MOODY, JR.,
UNITED STATES DISTRICT COURT JUDGE

APPEARANCES:

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(appearances continued on next page)

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Sherrill L. Jackson, RPR
Official Court Reporter, U.S. District Court
Middle District of Florida, Tampa Division
